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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA,
-against- (S7) 22-cr-0673 (LAK)
RYAN SALAME,
Defendant.
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LEwIs A. KAPLAN, District Judge.

Defendant was convicted on his plea of guilty to one count of conspiracy to make
unlawful political contributions and to defraud the Federal Election Commission and sentenced on
May 29, 2024 principally to a term of imprisonment of 90 months. Although the offense and
relevant conduct involved many tens of millions — indeed, arguably hundreds of millions — of
dollars, the sentence reflected a very substantial downward variance from the Guideline range of
120 months, which was the sentence recommended by Probation. Moreover, although the relevant
statutes contemplate that defendants such as this one be remanded to the custody of the Bureau of
Prisons (“BOP”) immediately upon imposition of a sentence of imprisonment, see 18 U.S.C.
3143(b), the Court granted this defendant’s request for permission to self surrender to the BOP on
August 29, 2024, thus affording him three months at liberty to put his affairs in order.

On June 29, 2024, defendant apparently was bitten by a dog. Nearly a month later,
he so advised the Court and sought a postponement of his scheduled surrender until October 11,
2024 in order to allow him to pursue additional private medical treatment. The Court granted that
request as well.

Most recently, the defendant yesterday, October 9 — represented by new counsel —
requested still another postponement of his surrender date, again to pursue further private medical

treatment. This time he seeks a postponement until December 7.

The government opposes the request, writing in part:'

Dkt 519 (footnote omitted).
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This Court granted a prior request by Salame to continue his self-surrender date by
45 days so that Salame would have time undergo what he described as “urgent and
necessary medical treatment and surgery.” (Dkt. 467). In that time, Salame appears
to have substantially recovered. He attended a court conference on September 12,
2024, at which he appeared physically recovered and was more than capable of
answering the Court’s questions with no signs of drooling or slurred speech. He
recently participated in a videotaped interview with Tucker Carlson, during which
he similarly appears physically recovered and entirely unimpaired while answering
questions. While Salame has submitted a doctor’s letter in support of his request, this
time the outlined medical treatment—which follows already-completed necessary
medical treatment and surgery—seems largely cosmetic and nonurgent. The letter
does not explain why the outlined procedures could not be performed after Salame’s
release, even if not his or his doctor’s preferred timeline.

The Court is in substantial agreement with the paragraph quoted above on the basis,
among others of its own observations of and interactions with the defendant during the court
proceeding on September 12, 2024.. In addition, to whatever extent that additional medical
treatment is genuinely necessary and cannot await the defendant’s release, it can be provided by or
under the auspices of the BOP.

Defendant already has benefitted from extremely generous postponements of the
commencement of the term of imprisonment warranted by the serious nature of the crime he
committed and the other relevant conduct. For the foregoing reasons, as well as the Court’s
concerns with the veracity of defendant’s various prior statements alluded to in the government's
opposition and therefore the veracity and bona fides of the present application, the Court is
unpersuaded. The application to defer the date for surrender is denied. Defendant shall surrender
no later than 2 p.m. on October 11, 2024 as previously scheduled.

SO ORDERED.

Dated: October 10, 2024

by

Lewis K Kapl
United States Distr&t Judge

